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                            No. 22-16903
_________________________________________________________________

               UNITED STATES COURT OF APPEALS
                     FOR THE NINTH CIRCUIT
__________________________________________________________________

                       PERRIN AIKENS DAVIS, et al.,
                           Plaintiffs-Appellees,

                                       v.

            META PLATFORMS, INC., FKA FACEBOOK, INC.
                       Defendant-Appellee,

                                       v.

                   SARAH FELDMAN and HONDO JAN,
                         Objectors-Appellants.

__________________________________________________________________

             On Appeal from the Northern District of California
                   Civil Action No. 5:12-md-2314-EJD
                          Hon. Edward J. Davila
__________________________________________________________________

                  APPELLANTS’ OPENING BRIEF
__________________________________________________________________


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                                  INTRODUCTION

      Ninth Circuit law is silent about what factors a district court should consider

when a settlement proposes to dramatically compromise available aggregate

statutory damages.

      The Hanlon/Churchill factors followed in this Circuit provide no guidance to

courts asked to approve an astronomical discount of recoverable statutory damages.

See Hanlon v. Chrysler Corp., 150 F.3d 1011, 1026 (9th Cir. 1998).

      Recently, this Court addressed the test for whether a statutory damages class

judgment violates constitutional due process, see Wakefield v. ViSalus, Inc., 51 F.4th

1109, 1120 (9th Cir. 2022), and declined to adopt the Supreme Court’s limitations

on punitive damages for aggregated statutory damages.         Id. at 1122. This case

presents the question of first impression as to how courts are to apply due process

limits in the context of a class action settlement, rather than a judgment. Here, Class

Counsel compromised the Class’s aggregate statutory damages claims for less than

0.0073% of total statutory damages. There is no basis in Ninth Circuit law for

approving such a radical discount of the Class’s potential recovery. A recovery of

less than one-ten-thousandth of available damages suggests the case lacked merit,

which is inconsistent with this Court’s prior determinations regarding concrete

damages and available causes of action.




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      The Federal Wiretap Act provides for statutory damages of $10,000 to each

Class member for Facebook’s violation.1 With over 124 million class members, the

aggregated statutory damages for Facebook’s violation of the Wiretap Act total at

least one trillion two hundred forty billion dollars ($1,240,000,000,000). The parties

settled the case for ninety million dollars ($90,000,000), representing a discount

against statutory damages of $1,239,910,000,000. The district court, in approving

the settlement, held that Appellants failed to “explain why 10% recovery plus

injunctive relief is unfair.” Dkt. 289, p. 14, l. 1-2 (emphasis added). Yet, twenty-

one days earlier, this Court had held that litigants are not limited to a single digit

multiplier of actual losses when recovering statutory damages.2       See Wakefield,

supra, at 1122. The district court’s approval of the settlement was based on Class

Counsel’s legally incorrect assertion that class damages are tied to disgorgement and

class recovery would be capped at $900 million.




1
  The Wiretap Act contains no provision restricting enforcement of claims through
a class action or capping/limiting available statutory damages in a class action to a
particular collective dollar amount.
2
  The district court erred by accepting Class Counsel’s contention that actual
damages are confined to Facebook’s purported profits on the sale of private class
member information, and again erred by suggesting that State Farm’s single digit
punitive damages multiplier must be applied to calculate maximum recoverable
damages. See State Farm Mut. Auto. Ins. Co. v. Campbell, 538 U.S. 408, 424-6
(2003).

                                          2
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      Furthermore, settlement notice to the class failed to provide class members

with a clear statement of class claims and their rights in those claims, thus violating

Rule 23 and constitutional due process.

                       JURISDICTIONAL STATEMENT
      The district court had federal question jurisdiction in this matter pursuant to

28 U.S.C. §1331 because plaintiffs alleged defendant Facebook violated the Federal

Wiretap Act, 18 U.S.C. § 2510, et seq., and the Federal Computer Fraud and Abuse

Act, 18 U.S.C. § 1030, et seq. As well, the district court had diversity jurisdiction

over the state claims alleged in this action under 28 U.S.C. §1332(d) because the suit

is a class action in which the citizenship of one or more plaintiffs differed from that

of the defendant and the aggregate amount in controversy exceeded $5,000,000.

      This Court has appellate jurisdiction because this is an appeal following entry

of a final judgment. 28 U.S.C. §1291. The district court’s Order Granting Motion

for Final Approval of Class Action Settlement; Granting Motion for Attorneys’ Fees,

Expenses, and Service Awards; Judgment was entered on November 10, 2022. Dkt.

289. Appellants Sarah Feldman and Cameron Jan timely filed their Notice of Appeal

on December 8, 2022. Dkt. 293. Appellants objected to the Settlement and so have

standing to make this appeal. Devlin v. Scardelletti, 536 U.S. 1 (2002).




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                              STATEMENT OF ISSUES

    1.        Did the district court apply an incorrect legal standard when

considering the compromise of statutory damages in a settlement context?

    2.        Did the district court abuse its discretion by approving a settlement that

compromises statutory damages by over 99.9927% without first calculating and

considering gross statutory damages?

      3.      Did the district court abuse its discretion by finding class

representatives and class counsel adequately represented the interests of the class

within the meaning of Rule 23(e)(2) when they settled class member claims for

0.0073% of calculable statutory damages?

      4.      Does the settlement, which provides a gross recovery of 73¢ on a class

member’s claim valued at $10,000.00, give adequate relief within the meaning of

Rule 23(e)(2)?

      5.      Did class notice comport with Rule 23 and satisfy constitutional due

process?

              STATUTORY AND REGULATORY AUTHORITIES

      Statutes and Rules are set forth in an Addendum following the brief.




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                           STATEMENT OF THE CASE

      The first class action complaint in this case was filed on September 30, 2011,

in the Northern District of California in Davis v. Facebook, Inc., Case No. 5:11-cv-

04834-PSG, stating causes for violations of the Federal Wiretap Act, the Stored

Electronic Communication Act, and the Federal Computer Fraud and Abuse Act.

The Judicial Panel on Multidistrict Litigation subsequently ordered Davis and other

cases consolidated in an MDL styled In re: Facebook, Inc. Internet Tracking

Litigation, Case No. 5:12-md-02314-EJD-NC, out of which this appeal arises.

      Plaintiffs sued Facebook for tracking their online activities without their

consent, whether or not they were logged-in to Facebook, stating common law and

statutory causes of action in contract and tort.       A series of three amended

consolidated class action complaints were filed in the district court. Facebook filed

successful motions to dismiss each of these complaints, leading to an appeal.

      On April 9, 2020, this Court issued its opinion affirming in part and reversing

in part the district court’s order(s) granting Facebook’s several Motions to Dismiss

(i.e., on the First, Second, and Third Amended Complaints). In re: Facebook, Inc.

Internet Tracking Litigation, 956 F.3d 589 (9th Cir. 2020). This Court affirmed the

district court’s dismissal of causes of action for violation of the Federal Stored

Communications Act, breach of contract, and breach of the implied covenant of good

faith and fair dealing, but determined plaintiffs had standing to bring claims for

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invasion of privacy, intrusion on seclusion, trespass to chattels, fraud, and larceny.

This Court further determined that plaintiffs had standing to bring, and had

adequately pled the elements of, causes for violation of the Federal Wiretap Act, the

California Invasion of Privacy Act, and California’s Computer Data Access and

Fraud Act, all of which the district court had dismissed.

       Facebook unsuccessfully sought a writ of certiorari from the Supreme Court.

After remand to the district court, this case went into a procedural holding pattern,

with the court issuing four orders extending deadlines while the parties negotiated a

settlement. On February 14, 2022, Class Counsel filed a Motion for Settlement Class

Certification and Preliminary Approval of Class Action Settlement.

       The Third Amended Complaint, filed August 25, 2017, is the most recent and

apparently operative complaint in this case. It contains only two causes of action

(breach of contract and breach of the implied covenant of good faith and fair

dealing), the same two causes this Court found had been correctly dismissed by the

district court. No complaint conforming to this Court’s April 9, 2020 opinion was

ever filed.3

       As consideration for the settlement, Facebook agrees to pay a gross amount

of $90 million and promises to destroy any still-retained data collected in violation



3
  No operative complaint was on file – or posted to the settlement website – at the
time of Settlement, Preliminary Approval, or Final Approval.

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of the privacy and property rights of class members between April 22, 2010, and

September 26, 2011.

      The district court granted preliminary approval of the settlement, and ordered

notice consistent with the Notice Plan, on March 31, 2022. Document 241. Class

Counsel filed their Motion for Final Approval on August 23, 2022. Document 254.

Appellants timely filed their objection on September 11, 2022. Document 265. The

district court held a final approval hearing on October 27, 2022, and issued its Order

Granting Motion for Final Approval of Class Action Settlement and Judgment on

November 10, 2022. ER-3–27. Appellants timely filed their Notice of Appeal on

December 8, 2022. ER-153.

                          SUMMARY OF ARGUMENT
      The district court abused its discretion by applying an incorrect standard to its

evaluation of the settlement, which represents the smallest percentage of recoverable

damages in the history of class action settlements. The district court erroneously

believed that plaintiffs’ recovery was limited to ten times disgorgement damages

when it held that the settlement was 10% of maximum damages. In fact, this Court

had rejected that standard in a decision issued three weeks before the district court

approved the settlement. The ordinary ten-to-one ratio limit applies only to punitive

damage awards, not aggregated statutory damages.




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      The settlement is by no means the largest privacy settlement Facebook has

agreed to during the past three years in the Northern District, and whether the

settlement was at the time “the tenth largest privacy rights settlement of its kind” is

irrelevant under the Hanlon factors. Fairness Hearing Transcript, ER-37. The

critical question is whether $90 million is an appropriate discount of the $1.24

trillion aggregate statutory damages suffered by the 124 million class members in

light of plaintiffs’ likelihood of prevailing on the merits.

      The procedural guidelines of the Northern District of California obligated

Class Counsel to provide the District Court with “the potential class recovery if

plaintiffs had fully prevailed on each of their claims, claim by claim, and a

justification of the discount applied to the claims.”4 Procedural Guidance for Class

Action Settlements, Addendum, A-5. The court failed to enforce Class Counsel’s

obligation; consequently, the court was never informed of the potential class

recovery or provided any justification for the extreme discount presented by the

settlement.

      The settlement proposes to compromise statutory damages by 99.9927%,

providing a gross recovery of only 73¢ for every $10,000 in available statutory

4
   This procedural guideline is consistent with the Rule 23, Notes of Advisory
Committee-2009 Amendment, Subdivision (e)(1), which describe that at the
preliminary approval stage “The parties should also supply the court with
information about the likely range of litigated outcomes, and about the risks that
might attend full litigation.”

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damages, yet the district court failed to examine and explain the massive discount in

light of the case’s merits. Such a monumental discount against statutory damages

cannot – without proper analysis and sufficient justification – be regarded as

adequate within the meaning of Rule 23(e)(2). The court’s uninformed analysis was

grounded in an incorrect assumption that limitations on post-trial punitive damages

apply to statutory damages in a settlement setting, and no effort to justify the drastic

discount against statutory damages was made.

      At the time of settlement there was no operative complaint on file with the

court, in violation of the Northern District’s Procedural Guidance for Class Action

Settlements. See Addendum, A-5 (requiring Class Counsel explain the “differences

between claims to be released and the claims in the operative complaint”). Here,

Class Counsel neither explained nor mentioned to the district court the enormous

difference between the claims being released and the claims contained in the

operative complaint – indeed, no operative complaint conforming to the 2020

opinion of this Court was ever filed.

      Class notice failed to adequately inform class members regarding the claims

that survived appeal and that were being compromised by the proposed settlement,

and their interest in those claims, without which information class members could

not evaluate the proposal and meaningfully exercise their right to opt out of the class

settlement.


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                            STANDARD OF REVIEW

      A district court’s decision to approve a class action settlement is reviewed for

abuse of discretion. Saucillo v. Peck, 25 F.4th 1118, 1129 (9th Cir. 2022). In re

Bluetooth Prod. Liab. Litig., 654 F 3d 935, 940 (9th Cir. 2011). The award of

statutory damages is likewise reviewed for an abuse of discretion. Six Mexican

Workers v. Arizona Citrus Growers, 697 F.2d 1333, 1339-40 (9th Cir. 1990).

Whether the district court applied the correct legal standard is reviewed de novo. Sea

Coast Foods, Inc. v. Lu–Mar Lobster & Shrimp, Inc., 260 F.3d 1054, 1058 (9th Cir.

2001). “Settlements that take place prior to formal class certification require a higher

standard of fairness.” In re Mego Financial Corp. Securities Litig., 213 F.3d 454,

458 (9th Cir. 2000), citing Hanlon v. Chrysler Corp., 150 F.3d 1011, 1026 (9th Cir.

1998).

      This Court reviews “de novo whether notice of a proposed settlement satisfies

due process.” In re Online DVD-Rental Antitrust Litigation 779 F.3d 934, 946 (9th

Cir. 2015). See also Torrisi v. Tucson Elec. Power Co., 8 F.3d 1370, 1374 (9th

Cir.1993).




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                                     ARGUMENT

I.       THE DISTRICT COURT APPLIED AN INCORRECT LEGAL
         STANDARD WHEN EVALUATING AND APPROVING THE
         PROPOSED SETTLEMENT

         A.     The district court applied an incorrect standard in using
                disgorgement as the measure of actual class damages

         The district court applied the wrong legal standard when it simply assumed,

    without explanation, that disgorgement of the amount Facebook purportedly earned

    from selling Class Member’s web-surfing data would represent a 100% recovery of

    damages in this case. Dkt. 289, p. 13, l. 16 through p. 14, l. 2. This assumption –

    which undergirds the court’s rejection of Appellants’ objection and is foundational

    to its settlement approval – was entirely incorrect and worked to the substantial

    prejudice of the Class.

         The Wiretap Act defines statutory damages as the greater of disgorgement5 or

    $10,000 per violation.6 If the sum calculable under 18 U.S.C. § 2520(c)(2)(A) is

    less than $10,000, then $10,000 is the statutory damage pursuant to (c)(2)(B). See

    Addendum, A-3. Hence, for purposes of analyzing available damages under the



5
   18 U.S.C. § 2520, provides that disgorgement may only be considered as one of
the two addends – along with actual damages suffered by plaintiff – that together
equal a sum available for award under § 2520(c)(2)(A). This calculation becomes
irrelevant if less than the $10,000 defined by § 2520(c)(2)(B).
6
   The district court made no finding as to actual damages, nor did it attempt to
calculate the sum of damages available under § 2520(c)(2)(A).

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    Wiretap Act in this case, disgorgement becomes irrelevant, and 18 U.S.C. §

    2520(c)(2)(B) controls and dictates that damages are $10,000 per class member.7

         Frequently, “statutes combine deterrence, compensatory, and punitive goals

in a single lump sum.” Wakefield v. ViSalus, Inc., 51 F.4th 1109, 1123 (9th Cir.

2022). That is not the case with 18 U.S.C. § 2520, which, in addition to statutory

damages, provides for separate “punitive damages.”8 See 18 U.S.C. § 2520(b)(2).

See also Bateman v. American Multi-Cinema, Inc., 623 F.3d 708, 718 (9th Cir.

2010) (“Congress provided for punitive damages in addition to any actual

or statutory damages … which further suggests that the statutory damages provision

has a compensatory, not punitive, purpose.”)           Here, principles of statutory

construction compel the conclusion that Congress intended the $10,000 statutory

damages to compensate a victim for the intangible injury to a person’s privacy

interests that are otherwise difficult to quantify, and that the specified amount is

within Congress’s “broad discretion in awarding damages.” Wakefield, 51 F.4th at

1120.




7
   The statutory damages are only $10,000 per class member if they are limited to
one violation per class member. The Federal Wiretap Act provides for $10,000
statutory damages for each violation of the Act, and the Act was arguably violated
each time Facebook captured the URL of a website visited by a Facebook user.
8
  “Punitive damages are traditionally designed to punish and deter and thus may
exceed the aggrieved party's actual loss.” Jacobson v. Rose 592 F.2d 515, 520 (9th
Cir. 1978).
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      There is absolutely no basis for using the arbitrary figure of $90 million to

cabin the Class’s recovery in this case. Nothing in the record explains this number.

Facebook denies making even one dollar from the tracking histories that it captured.

Fairness Hearing Transcript at ER-83 (“There was nothing obtained unjustly. There

would be nothing to disgorge because, as we said in our papers, this was a bug. It

was collecting information. It was not – it was not being tethered to the advertising

apparatus at the company. It wasn’t being monetized or used… What is the amount

to be disgorged? I kept saying it’s zero.”).9

      Therefore, there was absolutely no basis in the record for the district court’s

use of the arbitrary figure of $90 million in finding that the settlement recovered

“10%” of potential damages. Disgorgement was a red herring made up out of whole

cloth by Class Counsel to distract the district court from the settlement’s patent

inadequacy. Notwithstanding Class Counsel’s assertion that “it would be difficult

to prove unjust enrichment above $90 million” (Document 254, p. 15, l. 8),

disgorgement is not the measure of statutory damages in any event. Here, the

Wiretap Act’s statutory damages of $10,000 per violation is the default damage

amount. See 18 U.S.C. § 2520(c)(2)(B), Addendum, A-3.

9
   If the disgorgement figure did not come from Facebook, it is difficult to imagine
where Class Counsel came up with that number. Typically, a defendant will share
its revenue numbers with class counsel as part of a mediation. Here, Facebook
continues to this day to deny that it received any revenue from the illegally captured
internet histories.

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      In Congress’ estimation, the concrete injury to a person’s privacy and

reputational interests is worth $10,000 to the average person.         See Davis v.

Facebook, Inc., 956 F.3d 589 (9th Cir. 2020) (“Plaintiffs have adequately alleged

that Facebook’s tracking and collection practices would cause harm or a material

risk of harm to their interest in controlling their personal information.”). Who is to

say that $10,000 is not an actual monetary approximation of the harm a person

suffers when they lose control of their personal information? The district court had

no authority to overrule Congress on this point. And if $10,000 is the proper

measure of individual harm, then $1,240,000,000,000 is the aggregate amount of

harm suffered by a class of 124 million.

      The district court applied the wrong standard when examining the settlement

by using disgorgement as the measure of class damages. This Court should make a

de novo finding that the correct standard requires analysis using calculable statutory

damages of $10,000 per class member.

      B.    The district court applied the incorrect standard by adopting Class
            Counsel’s contention that State Farm establishes due process limits
            on the recoverability of statutory damages

      Compounding the district court’s fundamental error in limiting actual

damages to the $90 million by which Class Counsel claimed Facebook was unjustly

enriched through the sale of improperly-gathered data, the court further erred by

assuming without analysis that a court would be limited to entry of a post-trial


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judgment of no more than ten times those arbitrary damages. ER-15–16. Contrary

to this Court’s holding in Wakefield, supra, the district court here adopted and

applied Class Counsel’s argument that State Farm Mut. Auto. Ins. Co. v. Campbell,

538 U.S. 408, 424-6 (2003) controls the court’s analysis of available statutory

damages in this case. See ER-15–16 (“single-digit multipliers are more likely to

comport with due process, while still achieving the State’s goals of deterrence and

retribution”) (“By Class Counsel’s calculations, the settlement fund is 10% of the

potentially recoverable statutory damages.”).10

            (1)    The district court incorrectly applied State Farm’s limits on
                   punitive damages when analyzing settlement of a
                   compensatory damages claim

       “Compensatory and punitive damages serve different purposes. …

Compensatory damages ‘are intended to redress the concrete loss that the plaintiff

has suffered by reason of the defendant’s wrongful conduct.’” State Farm, supra,

538 U.S. at 416, citing Cooper Industries, Inc. v. Leatherman Tool Group, Inc., 532

U.S. 424 (2001). “Punitive damages are imposed for purposes of retribution and

deterrence.” State Farm, supra, at 416, citing BMW of North America, Inc. v. Gore,

517 U.S. 559 (1996).




10
    Nowhere in either their Motion for Preliminary Approval or Motion for Final
Approval do Class Counsel discuss damages, including unjust enrichment claims, in
the context of the Wiretap Act.

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      State Farm’s due process analysis of punitive damages – establishing a

standard of reasonableness and proportionality to harm and general damages

recovered – would apply if the district court were being asked to consider whether a

supplementary punitive damages award, on top of a compensatory damages award,

was “grossly excessive” or an “arbitrary punishment.” See State Farm, supra, at

416, citing Cooper Industries, supra, at 433. The district court, however, was not

asked to examine an award of punitive damages, and, as this Court held last October,

State Farm’s standards expressly do not apply in a class action brought for

aggregated statutory damages. See Wakefield, supra, 51 F.4th at 1122 (declining to

extend State Farm’s punitive damages limits to statutory damages cases). “We

stress that only rarely will an aggregated statutory damages award meet the exacting

[St. Louis, I.M. & S. Ry. Co v. Williams, 251 U.S. 63 (1919)] standard and exceed

constitutional limitations where the per-violation amount does not.” Id. at 1123.

      Here, the district court mistakenly determined that available compensatory

damages were limited to disgorgement of Facebook’s mythical $90 million unjust

enrichment, then multiplied that artificial number by ten to yield a denominator of

$900 million, thereby producing the erroneous conclusion that $90 million is a 10%

recovery of maximum damages. The district court’s employment of State Farm’s

limitation on punitive damages in the context of a statutory damages settlement is

legal error requiring reversal.


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               (2)   The Wiretap Act’s separate provision for punitive damages
                     renders its $10,000 per violation statutory damages entirely
                     compensatory

         “Punitive damages are imposed for purposes of retribution and deterrence,”

and compensatory damages are meant to provide redress for damages “plaintiff has

suffered by reason of the defendant’s wrongful conduct.” State Farm, 538 U.S. at

416. Some statutory damages comprise punishment, deterrence, and compensation

in their scope. 18 U.S.C. § 2520, however, provides $10,000 as the measure of

compensatory damages only, and provides separately for the recovery of punitive

damages. See 18 U.S.C. § 2520(b)(2), Addendum, A-2 .

        Where Congress makes provision for punitive damages separate and apart

from defined-amount statutory damages, the implication is that statutory damages

are compensatory in nature. See Bateman v. American Multi-Cinema, Inc., 623 F.3d

708, 718 (9th Cir. 2010) (“Congress provided for punitive damages in addition to

any actual or statutory damages … which further suggests that the statutory damages

provision has a compensatory, not punitive, purpose.”)

        Congress has broad discretion in the establishment of statutory damages. See

St. Louis I.M. & S. Ry. Co. v. Williams, 251 U.S. 63, 67 (1919). Here, as in Williams,

it cannot be said that the $10,000 per violation statutory damages is wholly

disproportionate or obviously unreasonable11 in light of the Wiretap Act’s important


11
     “When the penalty is contrasted with the overcharge possible in any instance it of
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purpose of securing uniform adherence to laws protecting Americans’ internet

privacy or the “numberless opportunities for committing the offense” that Facebook

possessed and exploited. Id. at 67.

      Appellants acknowledge this Court’s holding that “aggregation [of statutory

damages] can, in extreme circumstances, result in awards that may greatly outmatch

any statutory compensation and deterrence goals, resulting in awards that are largely

punitive.”12 Wakefield, supra, 51 F.4th at 1122. And, "where statutory damages no

longer serve purely compensatory or deterrence goals, consideration of an award’s

reasonableness and proportionality to the [statutory] violation and injury takes on

heightened constitutional importance.” Id. at 1222-23.

      The fact that Congress provided for punitive damages separate and apart from

statutory damages of $10,000 compels the conclusion that the 18 U.S.C. §

2520(c)(2)(B) statutory damages are compensatory only. True, when aggregated

such damages “have the capacity to ‘expand the potential statutory damages so far

beyond the actual damages suffered that the statutory damages come to resemble



course seems large, but, as we have said, its validity is not to be tested in that way.
When it is considered with due regard for the interests of the public, the numberless
opportunities for committing the offense, and the need for securing uniform
adherence … we think it properly cannot be said to be so severe and oppressive as
to be wholly disproportioned to the offense or obviously unreasonable.” (Emphasis
added.) St. Louis I.M. & S. Ry. Co. v. Williams, 251 U.S. 63, 67 (1919).
12
   It is unclear why Wakefield disassociates deterrence from punishment in contrast
to State Farm, 538 U.S. at 416.

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punitive damages.” Wakefield 51 F.4th at 1122 (emphasis added). Here, however,

even though class-wide statutory damages for violation of the Wiretap Act total

$1.24 trillion, Congress did not intend these compensatory damages to be punitive

in measure and has nowhere suggested a cap on available damages. See Wakefield

51 F.4th at 1124 (“We are constrained by a statute’s language and interpret statutes

with awareness that Congress could have enacted limits as to damages, including in

large class action litigations…”). See also Bateman v. American Multi-Cinema, Inc.,

623 F.3d 708, 720 (9th Cir. 2010) (“Had Congress been sufficiently concerned about

disproportionate damages as a result of class actions, it would have limited class

availability or aggregate damages.")

      In the context of FACTA’s compensatory statutory damages – which were not

capped in the case of class actions – this Court held:

      “‘In the absence of such affirmative steps to limit liability,’ we held,
      ‘we must assume that Congress intended FACTA’s remedial scheme to
      operate as it was written.’ Id. at 722–23. As a result, we concluded that
      to refuse to follow the statute’s text, in that instance by limiting class
      action availability to avoid ‘enormous’ potential liability,’ would
      ‘subvert congressional intent.’ Id. at 723. Because the appropriate
      penalty for statutory violations is a legislative decision best left to
      Congress, courts should disregard the plain statutory language directing
      damages and allowing class action and other aggregation only in the
      most egregious of circumstances.

Wakefield 51 F.4th at 1124

      The district court never analyzed the provisions of 18 U.S.C. § 2520(b)(2),

(c)(2)(A), and (c)(2)(B), and never performed the simple, mechanical calculation of
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aggregated statutory damages available to the class under the Wiretap Act. Instead,

without identifying the important interests Congress sought to protect through the

Wiretap Act and the unequal position occupied by Facebook when it illicitly and

without consent monitored class member internet usage, the district court, at the

prompting of Class Counsel, determined that disgorgement of profits establishes the

limit of actual damage.13

       While this Court has held that aggregated statutory damage awards could

violate due process in “certain extreme circumstances” and has established a basic

due process analysis for such awards, the district court ignored available statutory

damages and failed to engage in the analysis necessary to make any adjustments to

those damages. See Wakefield at 1121-22 (“An aggregated award could, like a per-

violation award, be wholly disproportioned to the prohibited conduct (and its public

importance) and greatly exceed any reasonable deterrence value.”). The district

court never measured the settlement against the important privacy interests sought

to be protected by the Wiretap Act and never considered whether the settlement

would have even a modest deterrent effect.




13
   This Court’s earlier analysis of disgorgement of profits was in the context of
standing related only to “California common law trespass to chattels and fraud,
statutory larceny, and violation of the CDAFA.” In re Facebook, Inc. Internet
Tracking Litigation, 956 F.3d 589, 599-601 (9th Cir. 2020). Disgorgement has
nothing to do with plaintiffs’ standing to make claims under the Wiretap Act.

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       Unless the district court first made a finding that the $10,000 statutory

damages provided by the Wiretap Act are wholly disproportionate or obviously

unreasonable considering the statute’s purpose, it was bound to use the $10,000 per

violation amount when beginning its evaluation of the proposed settlement. See St.

Louis, I.M. & S. Ry. Co. v. Williams, 251 U.S. 63, 66-67 (1919). The district court

never made such a finding. In this regard, the district court clearly applied the wrong

legal standard.

       It is certain, however, that the $90 million settlement approved by the district

court will have absolutely no deterrent effect on a company worth in excess of $500

billion.14

       C.    The district court failed to compare potential damages for each
             claim with the proposed settlement recovery and to justify the
             astronomical discount, in violation of the Northern District’s
             Procedural Guidance and the Circuit’s Hanlon factors

       When asked to approve a proposed settlement the district court must balance

the value of the claims being surrendered against what is being offered in exchange;

otherwise, the court’s approval is uninformed and arbitrary, and meaningful findings

of fairness, reasonableness, and adequacy cannot be made. The Northern District

has promulgated guidelines to assist in this evaluation. The District’s Procedural


14
  In view of the public importance of the privacy rights protected by the Wiretap
Act, a settlement of 1% of available statutory damages, $12.4 billion, would not be
an excessive deterrent or violate due process.

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Guidance for Class Action Settlements requires that Class Counsel provide the court

with “the class recovery under the settlement (including details about and the value

of injunctive relief), the potential class recovery if plaintiffs had fully prevailed on

each of their claims, claim by claim, and a justification of the discount.” Addendum,

A-5. This requirement is a prescribed means of addressing the first, second, and

fourth factors set forth in Hanlon v. Chrysler Corp., 150 F.3d 1011, 1026 (9th Cir.

1997) – strength of case, risk, and the amount of settlement – in a way that permits

meaningful application of those factors.

      Class Counsel actually concede that they failed to satisfy their requirement to

inform the court about the risks of continued litigation because it was too much

work: “I had 40 pages of the brief we had to cut out showing the strengths and

weaknesses of the case because it was really too much to file.” Fairness Hearing

Transcript at ER-55. This is astonishing, given that a candid discussion of the

strengths and weaknesses of the case is perhaps the most important thing to be

included in a motion for settlement approval.         By omitting the most critical

information relevant to a settlement approval analysis, Class Counsel prevented the

district court from discharging its duty to compare the likely result of continued

litigation with the settlement amount.

      A class action settlement amount must be reasonable as a function of the

relationship between maximum potential recovery and a discount according to the


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risk of continued litigation. As explained by the Seventh Circuit, a judge must

“quantify the net expected value of continued litigation to the class, since a

settlement for less than that value would not be adequate. Determining that value

would require estimating the range of possible outcomes and ascribing a probability

to each point on the range.” Reynolds v. Beneficial Nat’l Bank, 288 F.3d 277, 284-

285 (7th Cir. 2002) (emphasis added).

      Some arbitrary figures will indicate the nature of the analysis that we
      are envisaging. Suppose a high recovery were estimated at $5 billion,
      medium at $200 million, low at $10 million. Suppose the midpoint of
      the percentage estimates for the probability of victory at trial was .5
      percent for the high, 20 percent for the medium, and 30 percent for the
      low… Then the net expected value of the litigation, before discounting,
      would be $68 million… [O]ur point is that the judge made no effort to
      translate his intuitions about the strength of the plaintiffs’ case, the
      range of possible damages, and the likely duration of the litigation if it
      was not settled now into numbers that would permit a responsible
      evaluation of the reasonableness of the settlement.

Id. at 285.

      The above description applies equally to the district court in this case. Judge

Davila failed to “translate his intuitions” in arriving at his conclusion that $90

million is sufficient compensation for the trillion dollars in class member claims

proposed to be released by this settlement. After this Court reversed the district

court’s dismissal of the plaintiffs’ most valuable claims, including the Federal

Wiretap Act claim, this case had cleared one of the major hurdles to recovery on the


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merits. Assuming the case has only a 1% chance of success at trial – which is

conservative given plaintiffs’ win on appeal – this case would demand a settlement

in the range of $12.4 billion (i.e., 1% of $1.24 trillion).15

      In another recent statutory damages class action against Facebook in this

Circuit, the district court rejected a proposed settlement that represented 5.7% of

total aggregated statutory damages, after that case had survived an appeal of class

certification. See In re Facebook Biometric Info. Privacy Litig., 522 F.Supp.3d 617,

621 (N.D. Cal. 2021).16 The court ultimately approved a settlement representing

6.8% of aggregate statutory damages. Id. at 622.17


15
   A settlement of this amount would also be fully consistent with the purposes of
the Federal Wiretap Act, in light of Facebook’s considerable net worth and prior
conduct. A $90 million settlement seems unlikely to have much deterrence value to
a company that recently paid a $5 billion fine to the DOJ for failing to abide by a
prior consent order regarding its privacy practices. See U.S. v. Facebook, Inc., 456
F. Supp. 3d 115 (D.D.C. 2020). It would appear that something substantially greater
than $90 million is required to deter Facebook in its unceasing efforts to amass a
treasure-trove of personal information about its users.
16
  Unlike this case, Facebook Biometric did not sell its users’ biometric data to other
companies for revenue. It used the data exclusively internally for face-tagging on
the Facebook platform, which arguably enhanced users’ experience. Facebook
Biometric is a “pure” statutory damages class action that obtained a settlement
representing at least 6.8% of recoverable aggregate statutory damages.
17
   Facebook recently settled a privacy class action in the Northern District for $725
million in a case involving 250 million class members, or $3 per class member.
Though that case had lower available maximum per class member statutory damages
(i.e. between $1,000 and $2,500), using only the same ratio of class members to
dollar recovery would suggest at least $375 million settlement would be appropriate
in the instant case; if adjustment is made for this case’s greater available statutory
damages and fewer class members, a settlement of $1.49 billion would be
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       The Facebook Biometric settlement, which likewise included a promise by

Facebook to discontinue its misconduct, should establish a benchmark for this and

other statutory damage class actions. The court in that case first rejected a settlement

that represented less than 6% of potentially recoverable statutory damages.

Consequently, Facebook agreed to contribute an additional $100 million in order to

settle a case that sought only statutory damages provided by Illinois statute.

Facebook should be willing to pay at least as much to settle this case in which

plaintiff’s internet histories were illicitly captured, resulting in actual concrete harm

to plaintiffs’ privacy interests.

       In its decision, the district court conflated the adequacy-of- settlement analysis

with the State Farm due process test to support an incorrect finding that the

settlement represents a 10% recovery of maximum damages. The due process

limitation described in Wakefield, supra, however, is a check for oppressiveness to

the defendant that is applied only after a judgment or verdict is rendered.

       When analyzing a proposed settlement, the court should apply the Wakefield

oppressiveness standard only after it has calculated recoverable damages in view of

litigation risk. In this case, the district court’s three-part analysis should have begun

with a calculation of aggregated statutory damages, followed by a discount



appropriate by comparison. See In re Facebook, Inc. Consumer Privacy User
Profile Litig., N.D. Cal. No 18-md-02843-VC, Docket No. 1096.

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according to risk of continued litigation, and then proceeded to a cross-check – and,

if necessary, an adjustment – for Wakefield oppressiveness. This is what the

Northern District’s own rules specify.

      As an illustration, assume this case, having survived an appeal challenging

standing and the ability to state a claim, has at least a 1% chance of success at trial.18

Applying this 1% to the potential aggregate statutory damages of $1.24 trillion yields

the figure of $12.4 billion. Barring punitive effect, this is the minimum amount

required for a settlement of this case to be approved as adequate in every Circuit in

the country. No Circuit, including the Ninth, permits a case to be settled for less

than its likely litigation value, which is calculated by multiplying potential damages

by the likelihood of success. “[I]n every instance [the court must] compare the terms

of the compromise with the likely rewards of litigation.” Protective Comm. For

Indep. Stockholders of TMT Trailer Ferry Inc. v. Anderson, 390 U.S. 414, 424-25

(1968); Acosta v. Trans Union, LLC, 240 F.R.D. 564 (C.D. Cal. 2007) (“court must

apprise itself of all facts necessary for an intelligent and objective opinion of the

probabilities of ultimate success should the claim be litigated”) (quoting Weinberger




18
   Of course, this case likely has a far higher chance of success on the merits, given
its procedural posture and the fact that, by this Court’s opinion, it has survived
motions to dismiss. Appellants use the conservative number of 1% for purposes of
illustration, only. If Class Counsel contend the case has a lower than 1% chance of
success, this Court should require them to explain why they filed a frivolous case.

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v. Kendrick, 698 F.2d 61, 74 (2d Cir. 1982)). By this measure, the settlement

approved by the district court is about $12.3 billion short.

      Acosta, supra, is particularly instructive and relevant to the facts of this case.

Acosta was a class action for violation of the Fair Credit Reporting Act (“FCRA”),

with potential statutory damages of $2 billion. After finding that the proposed

settlement represented “not even one-fifth of one percent of the litigation value of

these claims” the court denied approval to the settlement.19 Acosta, supra, 240

F.R.D. at 578. “Were Plaintiffs’ claims against Trans Union and Equifax grounded

in such a tenuous basis that they were hopelessly doomed to fail in court, such a

colossal discrepancy between their apparent litigation value and the value of the

Settlement may be acceptable. That is not true here.” Id. The same could be said

of this case, where the settlement is just 0.0073% of the litigation value of the claims

being settled. Class Counsel has failed to make the case that their claims are

“hopelessly doomed to fail in court.” Barring such a showing, approval of the

proposed settlement is not permissible – it simply cannot be adjudged adequate.

      After arriving at an adequate settlement value of $12.4 billion, the court then,

and only then, should have subjected that figure to the Wakefield test for



19
    One-fifth of one percent of the litigation value of the claims in this case would be
$2.5 billion. While this amount may still be insufficient compensation for the
litigation value of the Wiretap Act claims, at least it is in the ballpark for starting a
discussion. $90 million is absurd.

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constitutional excessiveness. If the court determined that the amount of $12.4 billion

was constitutionally excessive, it should then have determined the maximum amount

that would not violate due process, i.e., the constitutional limit, and set the minimum

adequate settlement amount at that figure.        For example, since Facebook has

previously stipulated to and paid a $5 billion fine to the DOJ for violation of a prior

privacy consent order, the court could have found the amount of $5 billion is prima

facie not constitutionally excessive. Indeed, Facebook has borne that amount and

again gone out and violated individual privacy rights.20 This indicates that $5 billion

does not exceed the amount reasonably necessary to deter Facebook from ongoing

and knowing invasions of third-party privacy rights.21

      The Class would be far better off taking this case to trial with a 1% chance

of winning a verdict of $1.2 trillion, even if that judgment were ultimately reduced

to $5 billion by the guidelines set forth in Wakefield, than they are with the $90

million settlement that is dwarfed by the $650 million settlement in Facebook

Biometric and $750 million in Facebook Consumer Privacy. See In re Facebook


20
  See In re Facebook, Inc. Consumer Privacy User Profile Litig., N.D. Cal. No 18-
md-02483-VC.
21
     As pointed out by another objector, if the settlement paid minimum statutory
damages of $10,000 to each of the 1.55 million valid claimants, a fair, reasonable
and adequate settlement could be funded for $15.5 billion, far less than the $1.2
trillion number that gave the district court pause. It could also be pointed out that it
would take a settlement of $150 million to provide just current class claimants with
a 1% recovery of available statutory damages.

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Biometric Info. Privacy Litig., 522 F. Supp. 3d 617, 621 (N.D. Cal. 2021).

Facebook Biometric had 9.4 million class members with potential aggregate

statutory damages of approximately $9 billion and settled for $650 million. In this

case, which has 124 million class members and potential aggregate damages of $1.2

trillion, a settlement for $90 million cannot be regarded as adequate when compared

to Facebook Biometric22 – certainly not without a determination that substantially

greater litigation risk existed in this case, which topic was never addressed by Class

Counsel or the district court.23




22
   This case and Facebook Biometric were in almost identical procedural posture at
the time of settlement, each having survived a challenge to standing in this Court.
23
   On the other hand, if due process concerns really do limit recovery in this case to
$900 million or less, then the proposed settlement class fails to satisfy the superiority
requirement of Rule 23(b)(3). Each class member could sue individually and
recover the statutory amount of at least $10,000, plus attorney’s fees. If the very act
of certifying a class compromises the class members’ due process rights to the
statutory damages provided by Congress, then aggregation of claims, a procedural
device, adversely impacts class members’ substantive rights, in violation of the
Rules Enabling Act. The proposed settlement also fails the Rule 23(e)(2)(A) and
(C) adequacy requirements for the same reasons. No adequate lead plaintiff or class
counsel would pursue class litigation when doing so will provide inadequate relief
of less than $1 for every $10,000 claim.

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II.      THE CLASS WAS DEPRIVED OF DUE PROCESS BY THE
         FAILURE OF CLASS NOTICE

         Class notice in this case was nothing more than a procedural nicety that failed

to provide absent class members with a reasonable description of the action being

pursued on behalf of the class. It was practically impossible for class members to

glean a useful understanding of what was being compromised by the settlement and

to make an informed decision about whether to opt out of this case and sue on their

own for statutory damages of $10,000, plus attorney’s fees.

         Rule 23(c)(2)(B)24 – in connection with both the certification notice and

23(e)(1) settlement notice – establishes that notice to the class “must clearly and

concisely state in plain, easily understood language: … (iii) the class claims, issues,

or defenses.” (Emphasis added.) Without adequate 23(e)(1) notice, absent class

members cannot understand what they are giving up as part of the settlement.

         The Supreme Court has held that class notice must be the “best practicable”

and “should describe the action and the plaintiffs' rights in it.” Phillips Petroleum

Co. v. Shutts, 472 U.S. 797, 812 (1985). “[A] fully descriptive notice [ ] sent … to

each class member, with an explanation of the right to ‘opt out,’ satisfies due

process.” Id. at 812. The Supreme Court has established that, at a minimum, due




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      See Addendum, A-11.

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process requires a description of both the action underlying the class action and

plaintiffs’ rights in that action.

       Beyond requiring a description of the action and class members’ rights in that

action, there are no rules dictating the contents of a notice.25 The Federal Circuit has

held “either notice or the method by which additional information is provided, must

provide ‘all necessary information for any class member to become fully apprised

and make any relevant decisions.’”        (Internal citations omitted.)    Haggart v.

Woodley, 809 F.3d 1336, 1349 (Fed. Cir. 2016). This Circuit has held that “[b]efore

the district court approves a class settlement under Rule 23(e), it is ‘critical’ that

class members receive adequate notice.” In re Hyundai and Kia Fuel Economy

Litigation 926 F.3d 539 (9th Cir. 2019). “Rule 23(e) requires notice that describes

‘the terms of the settlement in sufficient detail to alert those with adverse viewpoints

to investigate and to come forward and be heard.’” In re Online DVD-Rental

Antitrust Litigation, 779 F.3d 934, 945–946 (9th Cir. 2015). To satisfy Rule

23(e)(1), settlement notice must “present information about a proposed settlement



25
   The Rule 23(e) “standard does not require detailed analysis of the statutes or
causes of action forming the basis for the plaintiff class's claims, and it does not
require an estimate of the potential value of those claims.” Lane v. Facebook,
Inc. (9th Cir. 2012) 696 F.3d 811, 826. See also In re Online DVD-Rental Antitrust
Litigation (9th Cir. 2015) 779 F.3d 934, 945–946. However, Lane and Online DVD
do not change the obligation of class notice to provide a description of class claims
and class member rights in those claims consistent with Phillips Petroleum Co. v.
Shutts (1985) 472 U.S. 797, 812.
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neutrally, simply, and understandably.” Rodriguez v. W. Publ'g Corp., 563 F.3d 948,

962 (9th Cir. 2009).

         Notice in the instant case failed to describe either the action or class members’

rights being pursued by the action. See Class Notice, ER-144–152. Absent from

the district court’s memorandum and order is any finding that class notice provided

a description of either the action or class members’ rights protected by the action –

both fundamental due process requirements of any Rule 23 settlement notice.

         Instead, the court approved notice – under the heading “What is this lawsuit

about?” – gave the following description of class claims:

         This lawsuit alleges that the Defendant improperly obtained and
         collected data from Facebook Users in the United States who visited
         non-Facebook websites that displayed the Facebook Like button
         between April 22, 2010 and September 26, 2011, inclusive.26

Class Notice, ER-146.

No description of the actual causes of action being pursued or individual class

member interests in those causes appears anywhere in the notice. 27



26
     This same description is given on the settlement website’s FAQ page.
27
    By way of comparison, the notice provided class members in In re Facebook
Biometric Information Privacy Litigation, Case No. 3:15-CV-03747-JD, stated
specifically that “Facebook users … sued Facebook claiming [violation] of the
Illinois Biometric Information Privacy Act (BIPA). That law says companies can’t
collect, store, or give out “biometric data,” which includes things like face or
fingerprint scans, without first giving notice and getting consent. This case alleges
that Facebook used facial recognition technology to create face templates—unique
templates that can be used to identify users in photos, that these templates are
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      Under the heading “What claims am I releasing if I stay in the Settlement

Class?” the notice states:

      Unless you exclude yourself from the Settlement, you cannot sue,
      continue to sue, or be part of any other lawsuit against the Defendant
      about any of the legal claims this Settlement resolves. The “Released
      Claims” section in the Settlement Agreement describes the legal claims
      that you give up (“release”) if you remain in the Settlement Class. The
      Settlement Agreement can be found at www.FBInternetTracking
      Settlement.com.

Class Notice, ER-148.

There is, however, no “Released Claims section” in the Settlement Agreement.28

      Class members hoping to find a meaningful description of “class claims,

issues, and defenses” were left to documents posted to the settlement website. The

website provided six different class action complaints, in three different captioned

matters, the most recent of which – the operative Third Amended Consolidated Class

Action Complaint (“TACAC”) – was filed in August 2017 and stated causes of

action for Breach of Contract and Breach of Implied Covenant of Good Faith and

Fair Dealing, only. These two causes of action were earlier dismissed by the district

court, which dismissal was affirmed by this Court. See In re Facebook, Inc. Internet

Tracking Litigation, 956 F.3d 589, 611 (9th Cir. 2020). Class Counsel failed to



covered by BIPA, and that Facebook did this without the proper notice and consent.”
28
    The settlement agreement includes a “RELEASES” section and a
“CERTAIN DEFINITIONS” section, both of which use the phrase “Released
Claims,” but neither references the Federal Wiretap Act.

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subsequently file a fourth amended class action complaint that conformed to this

Court’s 2020 opinion and there was no operative complaint on file when the action

was tentatively settled and settlement notice given to the class.

      Class Counsel did not post on the settlement website a copy of this Court’s

opinion in In re Facebook, Inc. Internet Tracking Litigation, and without the filing

of a post-opinion fourth amended complaint class members were left thinking the

only claims being advanced by class plaintiffs and Class Counsel were the TACAC’s

contractual causes, which were by ruling of this Court no longer enforceable against

Facebook.

      Remarkably, the district court describes this Court’s 2020 opinion in this case

as identifying “operative claims” without regard to the fact that actual class notice

did not “clearly and concisely state in plain, easily understood language: … (iii) the

class claims.” See Rule 23(c)(2)(B). This Court’s 2020 opinion cannot supplant

necessary class notice; certainly not when the opinion was never posted to the

settlement website and class members were not otherwise directed to seek it out to

better understand what claims Class Counsel was advocating on their behalf.

      Best practicable class notice requires the district court to consider “all the

circumstances” of the case when determining what is required to “describe the action

and the plaintiffs’ rights.” See Phillips Petroleum Co. v. Shutts, 472 U.S. 797, 812

(1985). When describing a class member’s rights in the action – as opposed to class


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members’ rights in the settlement of the action – class notice should, at the very least,

identify statutory claims that provide compensatory damages available to individual

class members.     In this case every class member’s right to make a statutory claim

worth $10,000 is being compromised for $0.73. Common sense and due process

instruct that class members be informed, at the very least, of the statute that provides

for available statutory damages, and thereby given the minimal means of exploring

that claim. Nowhere in the class notice are class members told they have a claim

under the Wiretap Act.       Further, what appears to be the controlling TACAC

misinforms class members by leading them to believe the claims being negotiated

and compromised are those that in reality no longer exist.

      Class notice is supposed to simply and understandably present class members

with information sufficient to inform them of the claims underlying a class action

and their rights in those claims. By failing to adequately inform class regarding

claims being released, the notice deprived them of the critical information central to

the most important decision they had to make – whether to stay in the settlement or

opt out and sue on their own for the $10,000, plus fees, Congress provided for them.

Phillips Petroleum 472 U.S. at 812. Here, class notice left class members guessing

about their rights and hid that substantial individual statutory damages were being

sold for a net recovery of less than the price of a postage stamp. The notice’s lack

of a clear statement of claim(s), including references to statutes giving rise to same,


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along with the absence of any description of class member rights in those claims,

violates Rule 23 and constitutional due process.

      Appellants ask this Court to consider de novo the notice provided to class

members and to find it fails to meet the standards of both Rule 23 and constitutional

due process.

                                   CONCLUSION

      For the foregoing reasons, this Court should reverse the district court’s

approval of the settlement and remand to the district court with guidance as to how

the district court should analyze the settlement in the context of the litigation value

of the case and in light of Wakefield’s due process concerns.

      This Court should further find the class notice violated Rule 23 and

constitutional due process standards and direct the district court to provide notice to

the class that clearly and concisely describes the claims being compromised by the

settlement, including without limitation for violation of the Wiretap Act – including

a description of the availability of individual statutory damages, plus attorney’s fees,

under the act – and advises that the only way to obtain those full damages is to opt

out of this case.




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                                      Respectfully submitted,
                                      Appellants Sarah Feldman and
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                                      by their attorneys:


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                    STATEMENT OF RELATED CASES

                            (CIRCUIT RULE 28-2.6)



9th Cir. Case No: 22-16903



      The undersigned attorney or self-represented party states the following:

      I am aware of one or more related cases currently pending in this Court. The
case number and name of each related case and its relationship to this case are:


                Case No. 22-16904 (Appellant Eric Alan Isaacson)
             Case Name: Perrin Davis, et al., v. Meta Platforms, Inc.
 Case relationship: Cases No. 22-16903 and No. 22-16904 arise out of the same
final order and judgment issued in N.D. Cal. Civil Action No. 5:12-md-2314-EJD.



Signature:   s/John Pentz                          Date: 4/19/2023




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                      CERTIFICATE OF COMPLIANCE



9th Cir. Case No: 22-16903



      I am the attorney or self-represented party.

      This brief contains 8,745 words, excluding the items exempted by Fed. R.

App. P. 32(f). The brief’s type size and typeface comply with Fed. R. App. P.

32(a)(5) and (6). (Note: This brief has been prepared in a proportionally spaced

typeface using Microsoft Word 2013 in 14-point Times New Roman font.)

      I certify this brief complies with the length limit set forth in Cir. R. 32-1(a).




Signature:   s/John Pentz                             Date: 4/19/2023




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                         CERTIFICATE OF SERVICE


9th Cir. Case No: 22-16903


      I hereby certify that I electronically filed the foregoing and attached

document(s) on this date with the Clerk of the Court for the United States Court of

Appeals for the Ninth Circuit using the Appellate Electronic Filing system.


Description of Documents:

             Opening Brief of Appellants Sarah Feldman and Hondo Jan

                             Appellants’ Excerpts of Record
                                  (Circuit Rule 30-1)




Signature:    s/John Pentz                           Date: 4/19/2023




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Perrin Aikens Davis, et al., v. Meta Platforms, Inc., FKA Facebook, Inc.
Case No. 22-16903




                   ADDENDUM TO APPELLANTS’ OPENING BRIEF

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§ 2520. Recovery of civil damages authorized, 18 USCA § 2520




  United States Code Annotated
   Title 18. Crimes and Criminal Procedure (Refs & Annos)
      Part I. Crimes (Refs & Annos)
        Chapter 119. Wire and Electronic Communications Interception and
        Interception of Oral Communications (Refs & Annos)


                                            18 U.S.C.A. § 2520

                           § 2520. Recovery of civil damages authorized

                                     Effective: November 16, 2018
                                                   Currentness




(a) In general.--Except as provided in section 2511(2)(a)(ii), any person whose wire, oral, or
electronic communication is intercepted, disclosed, or intentionally used in violation of this
chapter may in a civil action recover from the person or entity, other than the United States, which
engaged in that violation such relief as may be appropriate.

(b) Relief.--In an action under this section, appropriate relief includes--

  (1) such preliminary and other equitable or declaratory relief as may be appropriate;

  (2) damages under subsection (c) and punitive damages in appropriate cases; and

  (3) a reasonable attorney’s fee and other litigation costs reasonably incurred.


(c) Computation of damages.--(1) In an action under this section, if the conduct in violation of
this chapter is the private viewing of a private satellite video communication that is not scrambled
or encrypted or if the communication is a radio communication that is transmitted on frequencies
allocated under subpart D of part 74 of the rules of the Federal Communications Commission that
is not scrambled or encrypted and the conduct is not for a tortious or illegal purpose or for purposes
of direct or indirect commercial advantage or private commercial gain, then the court shall assess
damages as follows:

  (A) If the person who engaged in that conduct has not previously been enjoined under section
  2511(5) and has not been found liable in a prior civil action under this section, the court shall
  assess the greater of the sum of actual damages suffered by the plaintiff, or statutory damages

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§ 2520. Recovery of civil damages authorized, 18 USCA § 2520



  of not less than $50 and not more than $500.

  (B) If, on one prior occasion, the person who engaged in that conduct has been enjoined under
  section 2511(5) or has been found liable in a civil action under this section, the court shall
  assess the greater of the sum of actual damages suffered by the plaintiff, or statutory damages
  of not less than $100 and not more than $1000.

(2) In any other action under this section, the court may assess as damages whichever is the greater
of--

  (A) the sum of the actual damages suffered by the plaintiff and any profits made by the violator
  as a result of the violation; or

  (B) statutory damages of whichever is the greater of $100 a day for each day of violation or
  $10,000.

(d) Defense.--A good faith reliance on--

  (1) a court warrant or order, a grand jury subpoena, a legislative authorization, or a statutory
  authorization;

  (2) a request of an investigative or law enforcement officer under section 2518(7) of this title;
  or

  (3) a good faith determination that section 2511(3), 2511(2)(i), or 2511(2)(j) of this title
  permitted the conduct complained of;

is a complete defense against any civil or criminal action brought under this chapter or any other
law.

(e) Limitation.--A civil action under this section may not be commenced later than two years
after the date upon which the claimant first has a reasonable opportunity to discover the violation.

(f) Administrative discipline.--If a court or appropriate department or agency determines that the
United States or any of its departments or agencies has violated any provision of this chapter, and
the court or appropriate department or agency finds that the circumstances surrounding the
violation raise serious questions about whether or not an officer or employee of the United States
acted willfully or intentionally with respect to the violation, the department or agency shall, upon
receipt of a true and correct copy of the decision and findings of the court or appropriate
department or agency promptly initiate a proceeding to determine whether disciplinary action
against the officer or employee is warranted. If the head of the department or agency involved
determines that disciplinary action is not warranted, he or she shall notify the Inspector General
with jurisdiction over the department or agency concerned and shall provide the Inspector General
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§ 2520. Recovery of civil damages authorized, 18 USCA § 2520



with the reasons for such determination.

(g) Improper disclosure is violation.--Any willful disclosure or use by an investigative or law
enforcement officer or governmental entity of information beyond the extent permitted by section
2517 is a violation of this chapter for purposes of section 2520(a).



                                                 CREDIT(S)


(Added Pub.L. 90-351, Title III, § 802, June 19, 1968, 82 Stat. 223; amended Pub.L. 91-358, Title
II, § 211(c), July 29, 1970, 84 Stat. 654; Pub.L. 99-508, Title I, § 103, Oct. 21, 1986, 100 Stat.
1853; Pub.L. 107-56, Title II, § 223(a), Oct. 26, 2001, 115 Stat. 293; Pub.L. 107-296, Title XXII,
§ 2207(e), formerly Title II, § 225(e), Nov. 25, 2002, 116 Stat. 2157; renumbered § 2207(e),
Pub.L. 115-278, § 2(g)(2)(I), Nov. 16, 2018, 132 Stat. 4178; amended Pub.L. 115-141, Div. V, §
104(1)(B), Mar. 23, 2018, 132 Stat. 1216.)



18 U.S.C.A. § 2520, 18 USCA § 2520
Current through P.L. 117-327. Some statute sections may be more current, see credits for details.
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Procedural Guidance for Class Action Settlements

Published November,, :w18; modified December 5, 2018 and 1\IIyt1st 1,, 2022



     NOTE: [ven tlw11yl1 the guidance is hiy/1/y recommrndecl, the parties must comply in the fi,·st imtance wich the
     specific orders of the presiding jlldgc.



Parties submitting class action settlements for preliminary and final approval in the Northern District of California
should review and follow these guidelines to the extent they do not conflict with a specific judicial order in an
individual case. Failure to address the issues discussed below may result in unnecessary delay or denial of approval.
Parties and mediators should consider this guidance during settlement negotiations and when drafting settlement
agreements and exhibits, including class notices. In cases litigated under the Private Securities Litigation Reform
Act of 1995 and the Fair Labor Standards Act, follow the statute and case law requirements that apply to such cases,
such as regarding reasonable costs and expenses awards to representative plaintiffs, and this procedural guidance
to the extent applicable.


Preliminary Approval
1) INFORMATION ABOUT THE SETTLEMENT-The motion for preliminary approval should state, where
applicable:

 a. Any differences between the settlement class and the class proposed in the operative complaint (or, if a class
    has been certified, the certified class) and an explanation as to why the differences are appropriate.

 b. Any differences between the claims to be released and the claims in the operative complaint (or, if a class has
    been certified, the claims certified for class treatment) and an explanation as to why the differences are
    appropriate.

 c. The class recovery under the settlement (including details about and the value of injunctive relief), the potential
    class recovery if plaintiffs had fully prevailed on each of their claims, claim by claim, and a justification of the
    discount applied to the claims.

 d. Any other cases that will be affected by the settlement, an explanation of what claims will be released in those
    cases if the settlement is approved, the class definitions in those cases, their procedural posture, whether
    plaintiffs' counsel in those cases participated in the settlement negotiations, a brief history of plaintiffs'
    counsel's discussions with counsel for plaintiffs in those other cases before and during the settlement
    negotiations, an explanation of the level of coordination between the two groups of plaintiffs' counsel, and an
    explanation of the significance of those factors on settlement approval. If there are no such cases, counsel
    should so state.

 e. The proposed allocation plan for the settlement fund.

  f. If there is a claim form, an estimate of the expected claim rate in light of the experience of the selected claims
     administrator and/or counsel based on comparable settlements, the identity of the examples used for the
    estimate, and the reason for the selection of those examples.

 g. In light of Ninth Circuit case law disfavoring reversions, whether and under what circumstances money
    originally designated for class recovery will revert to any defendant, the expected and potential amount of any
   such reversion, and an explanation as to why a reversion is appropriate.

2) SETTLEMENT ADMINISTRATION-The parties are expected to get multiple competing bids from potential
settlement administrators. In the motion for preliminary approval, the parties should:

 a. Identify the proposed settlement administrator, the settlement administrator selection process, how many
    settlement administrators submitted proposals, what methods of notice and claims payment were proposed,
    and the lead class counsel's firms' history of engagements with the settlement administrator over the last two
    years.
                                                                                                                          A-5
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  b. Address the settlement administrator's procedures for securely handling class member data (including
     technical, administrative, and physical controls; retention; destruction; audits; crisis response; etc.), the
     settlement administrator's acceptance of responsibility and maintenance of insurance in case of errors, the
     anticipated administrative costs, the reasonableness of those costs in relation to the value of the settlement,
     and who will pay the costs.

The court may not approve the amount of the cost award to the settlement administrator until the final approval
hearing. The Court encourages the parties to address the items listed in the checklist linked here in formulating
their response.

3) NOTICE-The parties should ensure that the class notice is easily understandable, in light of the class members'
communication patterns, education levels, and language needs. The notice should include the following
information:

  a. Contact information for class counsel to answer questions.
  b. The address for a website, maintained by the claims administrator or class counsel, that lists key deadlines and
     has links to the notice, claim form (if any), preliminary approval order, motions for preliminary and final
     approval and for attorneys' fees, and any other important documents in the case.

  c. Instructions on how to access the case docket via PACER or in person at any of the court's locations.

  d. The date and time of the final approval hearing, clearly stating that the date may change without further notice
     to the class.
  e. A note to advise class members to check the settlement website or the Court's PACER site to confirm that the
     date has not been changed.

The parties should explain how the notice distribution plan is effective. Class counsel should consider the following
ways to increase notice to class members: identification of potential class members through third-party data
sources; use of text messages and social media to provide notice to class members; hiring a marketing specialist;
providing a settlement website that estimates claim amounts for each specific class member and updating the
website periodically to provide accurate claim amounts based on the number of participating class members; and
distributions to class members via direct deposit.

The notice distribution plan should rely on U.S. mail, email, and/or social media as appropriate to achieve the best
notice that is practicable under the circumstances, consistent with Federal Rule of Civil Procedure 23(c)(2). If U.S.
mail is part of the notice distribution plan, the notice envelope should be designed to enhance the chance that it will
be opened.

Below is suggested language for inclusion in class notices:

This notice summarizes the proposed settlement. For the precise terms of the settlement, please see the settlement
agreement available at www._ _ _ __ ___. com, by contacting class counsel at _ _ _ _ __ _ ___ , by
accessing the Court docket in this case, for a fee, through the Court's Public Access to Court Electronic Records
(PACER) system at https://ecf.cand.uscourts.gov, or by visiting the office of the Clerk of the Court for the United
States District Court for the Northern District of California, [insert appropriate Court location here], between 9:00
a.m. and 4:00 p.m., Monday through Friday, excluding Court holidays.

PLEASE DO NOT TELEPHONE THE COURT OR THE COURT CLERK'S OFFICE TO INQUIRE ABOUT THIS SETTLEMENT
OR THE CLAIM PROCESS.

4) OPT-OUTS-The notice should instruct class members who wish to opt out of the settlement to send a letter,
setting forth their name and information needed to be properly identified and to opt out of the settlement, to the
settlement administrator and/or the person or entity designated to receive opt outs. It should require only the
information needed to opt out of the settlement and no extraneous information or hurdles. The notice should
clearly advise class members of the deadline, methods to opt out, and the consequences of opting out.

5) OBJECTIONS-Objections must comply with Federal Rule of Civil Procedure 23(e)(5). The notice should instruct
class members who wish to object to the settlement to send their written objections only to the court. All objections
will be scanned into the electronic case docket, and the parties will receive electronic notices of filings . The notice
should make clear that the court can only approve or deny the settlement and cannot change the terms of the
settlement. The notice should clearly advise class members of the deadline for submission of any objections.

                                                                                                                        A-6
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Below is suggested language for inclusion in class notices:

"You can ask the Court to deny approval by filing an objection. You can't ask the Court to order a different
settlement; the Court can only approve or reject the settlement. If the Court denies approval, no settlement
payments will be sent out, and the lawsuit will continue. If that is what you want to happen, you should object.

Any objection to the proposed settlement must be in writing. If you file a timely written objection, you may, but are
not required to, appear at the Final Approval Hearing, either in person or through your own attorney. If you appear
through your own attorney, you are responsible for hiring and paying that attorney. All written objections and
supporting papers must (a) clearly identify the case name and number ( _ __ __ _ v. - -- - - -~ Case
No.- - -- - ~ , (b) be submitted to the Court either by filing them electronically or in person at any location
of the United States District Court for the Northern District of California or by mailing them to the Class Action
Clerk, United States District Court for the Northern District of California, [insert appropriate Court location here],
and (c) be filed or postmarked on or before _____ _ __ _ _ _ "

6) ATTORNEYS' FEES AND COSTS-Although attorneys' fee requests will not be approved until the final approval
hearing, class counsel should include information about the fees and costs (including expert fees) they intend to
request, their lodestar calculation (including total hours), and resulting multiplier in the motion for preliminary
approval. In a common fund case, the parties should include information about the relationship between the
amount of the common fund, the requested fee , and the lodestar. To the extent counsel base their fee request on
having obtained injunctive relief and/or other non-monetary relief for the class, counsel should discuss the benefit
conferred on the class.

7) SERVICE AWARDS-Judges in this district have different perspectives on extra payments to named plaintiffs or
class representatives that are not made available to other class members. Counsel seeking approval of service
awards should consult relevant prior orders by the judge reviewing the request. Although service award requests
will not be approved until the final approval hearing, the parties should include information about the service
awards they intend to request as well as a summary of the evidence supporting the awards in the motion for
preliminary approval. The parties should ensure that neither the size nor any conditions placed on the incentive
awards undermine the adequacy of the named plaintiffs or class representatives. In general, unused funds allocated
to incentive awards should be distributed to the class pro rata or awarded to cy pres recipients.

8) CY PRES AWARDEES-If the settlement contemplates a cy pres award, the parties should identify their chosen
cy pres recipients, if any, and how those recipients are related to the subject matter of the lawsuit and the class
members' claims. The parties should also identify any relationship they or their counsel have with the proposed cy
pres recipients. In general, unused funds allocated to attorneys' fees, service awards, settlement administration
costs, and class member payments should be distributed to the class pro rata if feasible, or else awarded to cy pres
recipients or to the relevant government authorities.

9) TIMELINE-The parties should ensure that class members have at least thirty-five days to opt out or object to
the settlement and the motion for attorney's fees and costs.

10) CLASS ACTION FAIRNESS ACT (CAFA) AND SIMILAR REQUIREMENTS-The parties should address whether
CAFA notice is required and, if so, when it will be given. In addition, the parties should address substantive
compliance with CAFA. For example , if the settlement includes coupons , the parties should explain how the
settlement complies with 28 U.S.C. § 1712. In addition, the parties should address whether any other required
notices to government entities or others have been provided, such as notice to the Labor & Workforce Development
Agency (LWDA) pursuant to the Private Attorneys General Act (PAGA).

11)  COMPARABLE OUTCOMES-Lead class counsel should provide information about comparable cases, including
settlements and litigation outcomes. Lead class counsel should provide the following information for as many as
feasible (and at least one) comparable class settlements (i.e., settlements involving the same or similar claims,
parties, issues) :

  a. The claims being released, the total settlement fund, the total number of class members, the total number of
     class members to whom notice was sent, the method(s) of notice , the number and percentage of claim forms
     submitted, the average recovery per class member or claimant, the amounts distributed to cy pres recipients,
     the administrative costs, the attorneys' fees and costs , the total exposure if the plaintiffs had prevailed on every
     claim.

 b. Where class members are entitled to non-monetary relief, such as discount coupons or debit cards or similar
    instruments, the number of class members availing themselves of such relief and the aggregate value redeemed

                                                                                                                        A-7
    by the class members and/or by any assignees or transferees of the class members' interests.
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     c. Where injunctive and/or other non-monetary relief has been obtained, discuss the benefit conferred on the
        class.

Counsel should summarize this information in easy-to-read charts that allow for quick comparisons with other
cases, supported by analysis in the text of the motion.

12) ELECTRONIC VERSIONS-Electronic versions (Microsoft Word or WordPerfect) of all proposed orders and
notices should be submitted to the presiding judge's Proposed Order (PO) email address when filed. Most judges in
this district use Microsoft Word, but counsel should check with the individual judge's Courtroom Deputy.

13) OVERLAPPING CASES-Within one day of filing of the preliminary approval motion, the defendants should
serve a copy on counsel for any plaintiffs with pending litigation, whether at the trial court or appellate court level,
whether active or stayed, asserting claims on a representative (e.g., class, collective, PAGA, etc.) basis that
defendants believe may be released by virtue of the settlement.


Final Approval
1) CLASS MEMBERS' RESPONSE-The motion for final approval briefing should include information about the
number of undeliverable class notices and claim packets, the number of class members who submitted valid claims,
the number of class members who opted out, and the number of class members who objected to or commented on
the settlement. In addition, the motion for final approval should respond to any objections.

2) ATTORNEYS' FEES-All requests for approval of attorneys' fees must include detailed lodestar information,
even if the requested amount is based on a percentage of the settlement fund. Declarations of class counsel as to the
number of hours spent on various categories of activities related to the action by each biller, together with hourly
billing rate information may be sufficient, provided that the declarations are adequately detailed. Counsel should be
prepared to submit copies of detailed billing records if the court orders.

Regardless of when they are filed, requests for attorneys' fees must be noticed for the same date as the final
approval hearing. If the plaintiffs choose to file two separate motions, they should not repeat the case history and
background facts in both motions. The motion for attorneys' fees should refer to the history and facts set out in the
motion for final approval.

3) SERVICE AWARDS-All requests for service awards must be supported by evidence of the value provided by the
proposed awardees, the risks they undertook in participating, the time they spent on the litigation, and any other
justifications for the awards.

4) ELECTRONIC VERSIONS-Electronic versions (Microsoft Word or Word Perfect) of all proposed orders and
judgments should be submitted to the presiding judge's Proposed Order (PO) email address at the time they are
filed.


Post- Distribution Accounting
1)  Within 21 days after the settlement checks become stale (or, if no checks are issued, all funds have been paid to
class members, cy pres beneficiaries, and others pursuant to the settlement agreement), the parties should file a
Post-Distribution Accounting (and post it on the settlement website), which provides the following information:

     a. The total settlement fund, the total number of class members, the total number of class members to whom
        notice was sent and not returned as undeliverable, the number and percentage of claim forms submitted, the
        number and percentage of opt-outs, the number and percentage of objections, the average, median, maximum,
        and minimum recovery per claimant, the method(s) of notice and the method(s) of payment to class members,
        the number and value of checks not cashed, the amounts distributed to each cy pres recipient, the
        administrative costs, the attorneys' fees and costs, the attorneys' fees in terms of percentage of the settlement
        fund, plaintiffs' counsel's updated lodestar total, and the lodestar multiplier.

 b. Where class members are entitled to non-monetary relief, such as discount coupons, debit cards, or similar
    instruments, the number of class members availing themselves of such relief and the aggregate value redeemed
    by the class members and/or by any assignees or transferees of the class members' interests.

     c. Where injunctive and/or other non-monetary relief has been obtained, discuss the benefit conferred on the
        class.


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Counsel should summarize this information in an easy-to-read chart that allows for quick comparisons with other
cases.

3) The Court may hold a hearing following submission of the parties' Post-Distribution Accounting.




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  United States Code Annotated
   Federal Rules of Civil Procedure for the United States District Courts (Refs &
   Annos)
      Title IV. Parties


                               Federal Rules of Civil Procedure Rule 23

       Rule 23. Class Actions [Rule Text & Notes of Decisions subdivisions I to VII]

                                                     Currentness




(a) Prerequisites. One or more members of a class may sue or be sued as representative parties
on behalf of all members only if:

   (1) the class is so numerous that joinder of all members is impracticable;

   (2) there are questions of law or fact common to the class;

   (3) the claims or defenses of the representative parties are typical of the claims or defenses of
   the class; and

   (4) the representative parties will fairly and adequately protect the interests of the class.

(b) Types of Class Actions. A class action may be maintained if Rule 23(a) is satisfied and if:

   (1) prosecuting separate actions by or against individual class members would create a risk of:

      (A) inconsistent or varying adjudications with respect to individual class members that would
      establish incompatible standards of conduct for the party opposing the class; or

      (B) adjudications with respect to individual class members that, as a practical matter, would
      be dispositive of the interests of the other members not parties to the individual adjudications
      or would substantially impair or impede their ability to protect their interests;

   (2) the party opposing the class has acted or refused to act on grounds that apply generally to
   the class, so that final injunctive relief or corresponding declaratory relief is appropriate
   respecting the class as a whole; or

   (3) the court finds that the questions of law or fact common to class members predominate over
   any questions affecting only individual members, and that a class action is superior to other
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   available methods for fairly and efficiently adjudicating the controversy. The matters pertinent
   to these findings include:

      (A) the class members’ interests in individually controlling the prosecution or defense of
      separate actions;

      (B) the extent and nature of any litigation concerning the controversy already begun by or
      against class members;

      (C) the desirability or undesirability of concentrating the litigation of the claims in the
      particular forum; and

      (D) the likely difficulties in managing a class action.

(c) Certification Order; Notice to Class Members; Judgment; Issues Classes; Subclasses.

   (1) Certification Order.

      (A) Time to Issue. At an early practicable time after a person sues or is sued as a class
      representative, the court must determine by order whether to certify the action as a class
      action.

      (B) Defining the Class; Appointing Class Counsel. An order that certifies a class action must
      define the class and the class claims, issues, or defenses, and must appoint class counsel
      under Rule 23(g).

      (C) Altering or Amending the Order. An order that grants or denies class certification may
      be altered or amended before final judgment.

   (2) Notice.

      (A) For (b)(1) or (b)(2) Classes. For any class certified under Rule 23(b)(1) or (b)(2), the
      court may direct appropriate notice to the class.

      (B) For (b)(3) Classes. For any class certified under Rule 23(b)(3)--or upon ordering notice
      under Rule 23(e)(1) to a class proposed to be certified for purposes of settlement under Rule
      23(b)(3)--the court must direct to class members the best notice that is practicable under the
      circumstances, including individual notice to all members who can be identified through
      reasonable effort. The notice may be by one or more of the following: United States mail,
      electronic means, or other appropriate means. The notice must clearly and concisely state in
      plain, easily understood language:



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         (i) the nature of the action;

         (ii) the definition of the class certified;

         (iii) the class claims, issues, or defenses;

         (iv) that a class member may enter an appearance through an attorney if the member so
         desires;

         (v) that the court will exclude from the class any member who requests exclusion;

         (vi) the time and manner for requesting exclusion; and

         (vii) the binding effect of a class judgment on members under Rule 23(c)(3).

   (3) Judgment. Whether or not favorable to the class, the judgment in a class action must:

      (A) for any class certified under Rule 23(b)(1) or (b)(2), include and describe those whom
      the court finds to be class members; and

      (B) for any class certified under Rule 23(b)(3), include and specify or describe those to whom
      the Rule 23(c)(2) notice was directed, who have not requested exclusion, and whom the court
      finds to be class members.

   (4) Particular Issues. When appropriate, an action may be brought or maintained as a class
   action with respect to particular issues.

   (5) Subclasses. When appropriate, a class may be divided into subclasses that are each treated
   as a class under this rule.

(d) Conducting the Action.

   (1) In General. In conducting an action under this rule, the court may issue orders that:

      (A) determine the course of proceedings or prescribe measures to prevent undue repetition
      or complication in presenting evidence or argument;

      (B) require--to protect class members and fairly conduct the action--giving appropriate notice
      to some or all class members of:

         (i) any step in the action;

         (ii) the proposed extent of the judgment; or


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         (iii) the members’ opportunity to signify whether they consider the representation fair and
         adequate, to intervene and present claims or defenses, or to otherwise come into the action;

      (C) impose conditions on the representative parties or on intervenors;

      (D) require that the pleadings be amended to eliminate allegations about representation of
      absent persons and that the action proceed accordingly; or

      (E) deal with similar procedural matters.

   (2) Combining and Amending Orders. An order under Rule 23(d)(1) may be altered or
   amended from time to time and may be combined with an order under Rule 16.

(e) Settlement, Voluntary Dismissal, or Compromise. The claims, issues, or defenses of a
certified class--or a class proposed to be certified for purposes of settlement--may be settled,
voluntarily dismissed, or compromised only with the court’s approval. The following procedures
apply to a proposed settlement, voluntary dismissal, or compromise:

   (1) Notice to the Class.

      (A) Information That Parties Must Provide to the Court. The parties must provide the court
      with information sufficient to enable it to determine whether to give notice of the proposal
      to the class.

      (B) Grounds for a Decision to Give Notice. The court must direct notice in a reasonable
      manner to all class members who would be bound by the proposal if giving notice is justified
      by the parties’ showing that the court will likely be able to:

         (i) approve the proposal under Rule 23(e)(2); and

         (ii) certify the class for purposes of judgment on the proposal.

   (2) Approval of the Proposal. If the proposal would bind class members, the court may approve
   it only after a hearing and only on finding that it is fair, reasonable, and adequate after
   considering whether:

      (A) the class representatives and class counsel have adequately represented the class;

      (B) the proposal was negotiated at arm’s length;

      (C) the relief provided for the class is adequate, taking into account:

         (i) the costs, risks, and delay of trial and appeal;

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         (ii) the effectiveness of any proposed method of distributing relief to the class, including
         the method of processing class-member claims;

         (iii) the terms of any proposed award of attorney’s fees, including timing of payment; and

         (iv) any agreement required to be identified under Rule 23(e)(3); and

      (D) the proposal treats class members equitably relative to each other.

   (3) Identifying Agreements. The parties seeking approval must file a statement identifying any
   agreement made in connection with the proposal.

   (4) New Opportunity to be Excluded. If the class action was previously certified under Rule
   23(b)(3), the court may refuse to approve a settlement unless it affords a new opportunity to
   request exclusion to individual class members who had an earlier opportunity to request
   exclusion but did not do so.

   (5) Class-Member Objections.

      (A) In General. Any class member may object to the proposal if it requires court approval
      under this subdivision (e). The objection must state whether it applies only to the objector,
      to a specific subset of the class, or to the entire class, and also state with specificity the
      grounds for the objection.

      (B) Court Approval Required for Payment in Connection with an Objection. Unless approved
      by the court after a hearing, no payment or other consideration may be provided in connection
      with:

         (i) forgoing or withdrawing an objection, or

         (ii) forgoing, dismissing, or abandoning an appeal from a judgment approving the
         proposal.

      (C) Procedure for Approval After an Appeal. If approval under Rule 23(e)(5)(B) has not been
      obtained before an appeal is docketed in the court of appeals, the procedure of Rule 62.1
      applies while the appeal remains pending.

(f) Appeals. A court of appeals may permit an appeal from an order granting or denying class-
action certification under this rule, but not from an order under Rule 23(e)(1). A party must file a
petition for permission to appeal with the circuit clerk within 14 days after the order is entered, or
within 45 days after the order is entered if any party is the United States, a United States agency,
or a United States officer or employee sued for an act or omission occurring in connection with
duties performed on the United States’ behalf. An appeal does not stay proceedings in the district

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court unless the district judge or the court of appeals so orders.

(g) Class Counsel.

   (1) Appointing Class Counsel. Unless a statute provides otherwise, a court that certifies a class
   must appoint class counsel. In appointing class counsel, the court:

      (A) must consider:

         (i) the work counsel has done in identifying or investigating potential claims in the action;

         (ii) counsel’s experience in handling class actions, other complex litigation, and the types
         of claims asserted in the action;

         (iii) counsel’s knowledge of the applicable law; and

         (iv) the resources that counsel will commit to representing the class;

      (B) may consider any other matter pertinent to counsel’s ability to fairly and adequately
      represent the interests of the class;

      (C) may order potential class counsel to provide information on any subject pertinent to the
      appointment and to propose terms for attorney’s fees and nontaxable costs;

      (D) may include in the appointing order provisions about the award of attorney’s fees or
      nontaxable costs under Rule 23(h); and

      (E) may make further orders in connection with the appointment.

   (2) Standard for Appointing Class Counsel. When one applicant seeks appointment as class
   counsel, the court may appoint that applicant only if the applicant is adequate under Rule
   23(g)(1) and (4). If more than one adequate applicant seeks appointment, the court must appoint
   the applicant best able to represent the interests of the class.

   (3) Interim Counsel. The court may designate interim counsel to act on behalf of a putative
   class before determining whether to certify the action as a class action.

   (4) Duty of Class Counsel. Class counsel must fairly and adequately represent the interests of
   the class.

(h) Attorney’s Fees and Nontaxable Costs. In a certified class action, the court may award
reasonable attorney’s fees and nontaxable costs that are authorized by law or by the parties’
agreement. The following procedures apply:

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   (1) A claim for an award must be made by motion under Rule 54(d)(2), subject to the provisions
   of this subdivision (h), at a time the court sets. Notice of the motion must be served on all parties
   and, for motions by class counsel, directed to class members in a reasonable manner.

   (2) A class member, or a party from whom payment is sought, may object to the motion.

   (3) The court may hold a hearing and must find the facts and state its legal conclusions under
   Rule 52(a).

   (4) The court may refer issues related to the amount of the award to a special master or a
   magistrate judge, as provided in Rule 54(d)(2)(D).



CREDIT(S)

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